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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Notice of Motion and Motion for Sanctions: Memorandum of Points and

 5   Authorities in Support Thereof (“Motion for Sanctions”) and Plaintiffs’ Reply Memorandum of

 6   Points and Authorities in Support of Motion for Sanctions ( the “Reply”) thereto should be sealed.

 7           Plaintiffs provided their Motion for Sanctions and the Reply thereto to Defendants NSO

 8   Group Technologies Limited and Q Cyber Technologies Limited, who identified text therein that

 9   they seek to keep under seal. Accordingly, Plaintiffs now move the Court to consider whether that

10   text in Plaintiffs’ Motion for Sanctions and the Reply thereto should be sealed. See N.D. Cal. Civil

11   L.R. 79-5(f). Plaintiffs reserve the right to challenge any confidentiality designations as well as the

12   sealability of the materials at issue.

13           These motions and copies of any relevant attachments will be served on all non-parties by

14   email, since they have not appeared in this action.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1    Dated: November 14, 2024                   Respectfully Submitted,

 2
                                                 DAVIS POLK & WARDWELL LLP
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19                                                       Attorneys for Plaintiffs WhatsApp LLC and
                                                         Meta Platforms, Inc.
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